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UNITED STATES DISTRICT COURT                                      USDC-SDNY
SOUTHERN DISTRICT OF NEW YORK                                     DOCUMENT
                                                                  ELECTRONICALLY FILED
 DANIEL TEXCAHUA CEREZO,                                          DOC#:
 individually and on behalf of others similarly                   DATE FILED: 10-16-20
 situated.,

                            Plaintiff,                              20-CV-5492 (RA)

                       v.                                                ORDER

 53 WEST 72ND STREET CAFÉ LCC, et al.,

                            Defendants.



RONNIE ABRAMS, United States District Judge:

         Plaintiff served Defendants in this matter on August 20, 2020. Dkt. 14–16. None of the

Defendants have answered the Complaint or otherwise appeared. No later than October 29, 2020,

Plaintiff shall notify the Court whether he intends to move for default judgment. In the event Plaintiff

fails to comply with this order, the Court may dismiss this action pursuant to Rule 41(b). See Fed.

R. Civ. P. 41(b).

SO ORDERED.

Dated:     October 16, 2020
           New York, New York

                                                  RONNIE ABRAMS
                                                  United States District Judge
